                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT WINCHESTER

UNITED STATES OF AMERICA,                             )
                                                      )
v.                                                    )      No. 4:14-cr-18-TRM-SKL-1
                                                      )
DONNIE SIMMONS                                        )

                                  MEMORANDUM AND ORDER

       Defendant DONNIE SIMMONS appeared for a hearing on December 18, 2024, in accordance
with Rules 5 and 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant for an
Offender Under Supervision (“Petition”) in the above matter.

       Defendant was placed under oath and informed of his constitutional rights. It was determined
that Defendant wished to be represented by an attorney and he qualified for appointed counsel. Federal
Defender Services was appointed to represent Defendant. It was also determined that Defendant had
been provided with and reviewed with counsel a copy of the Petition.

        The Government moved that Defendant be detained without bail pending his revocation hearing
before U.S. District Judge McDonough. Defendant waived his right to a preliminary hearing and a
detention hearing.

        Based upon the Petition and waiver of preliminary hearing, the Court finds there is probable
cause to believe Defendant has committed violations of his condition of supervised release as alleged
in the Petition.

         Accordingly, it is ORDERED that:

        (1) Counsel for Defendant and the Government shall confer and make best efforts to submit to
U.S. District Judge McDonough a proposed Agreed Order with respect to an appropriate disposition of
the Petition.

        (2) In the event counsel are unable to reach agreement with respect to an appropriate disposition
of the Petition, they shall request a hearing before U.S. District Judge McDonough.

        (3) The Government’s motion that Defendant be DETAINED WITHOUT BAIL pending
further order from this Court is GRANTED.

         SO ORDERED.

         ENTER.                               s/Susan K. Lee
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE




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